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 4
     Attorney for Defendant
 5   CARMEN GALEANO
 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8                                     SACRAMENTO DIVISION
 9

10   UNITED STATES OF AMERICA,                      )   Case No. 2:08 CR 00318 LKK
                                                    )
11                             Plaintiff,           )
                                                    )   ORDER GRANTING DEFENDANT’S
12         vs.                                      )   REQUEST FOR THE RETURN OF UNITED
                                                    )   STATES PASSPORT
13   CARMEN GALEANO,                                )
                                                    )
14                             Defendant.           )
                                                    )
15
             Pursuant to the Order of the Court signed on November 10, 2009, dismissing the
16
     indictment against defendant, CARMEN GALEANO, defendant, by and through her
17
     undersigned counsel, moves for an Order authorizing the release of her United States passport.
18
     Dated: November 30, 2009                    Respectfully submitted,
19
                                                 By: __/s/ Joseph J. Wiseman__
20
                                                 JOSEPH J. WISEMAN
21                                               Attorney for Defendant

22
                                               ORDER
23

24
             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT

25
     defendant CARMEN GALEANO’s United States passport be returned to her forthwith.

26
     DATED: December 2, 2009
27

28




     ORDER                                                                  Case No. 2:08 CR 00318 LKK
